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15                       UNITED STATES DISTRICT COURT
16          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
17
18 Netflix Studios, LLC; Amazon Content      Case No. 2:18-cv-230
   Services, LLC; Columbia Pictures
19 Industries, Inc.; Disney Enterprises,
   Inc.; Paramount Pictures Corporation;     EXHIBIT A TO REPORT ON THE
20 Twentieth Century Fox Film                FILING OR DETERMINATON OF
   Corporation; Universal City Studios       AN ACTION OR APPEAL
21 Productions LLLP; Warner Bros.            REGARDING A COPYRIGHT
   Entertainment Inc.                        [Docket #5]
22
                 Plaintiffs,
23
          vs.
24
   Dragon Media Inc. d/b/a Dragon Box;
25 Paul Christoforo; Jeff Williams.
26               Defendants.
27
28

         EXHIBIT A TO REPORT ON THE FILING OR DETERMINATON OF AN ACTION OR APPEAL
                                  REGARDING A COPYRIGHT
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       EXHIBIT A
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                     Netflix Studios, LLC et al. v. Dragon Media Inc. et al
                                Representative List of Works

                                                            Registration
 Title                     Copyright Registrants                              Registration Date
                                                            Number
 The OA, Season 1,
                           Netflix Studios, LLC             PA2-029-045               1/18/2017
 Episode 1
 Santa Clarita Diet,
                            Netflix Studios, LLC            PA2-028-853                2/3/2017
 Season 1, Episode 1
 Stranger Things, Season
                            Netflix Studios, LLC            PA2-009-946               9/26/2016
 1, Episode 8
 Wet Hot American
 Summer: First Day of
                           Netflix Studios, LLC             PA1-996-639               4/19/2016
 Camp, Season 1,
 Episode 1
 Easy, Season 1, Episode
                           Netflix Studios, LLC             PA2-009-863               9/26/2016
 1
 Bosch, Season 1,          Amazon Content Services
                                                            PA2-000-165               2/10/2016
 Episode 1                 LLC
 The Man in the High
                           Amazon Content Services
 Castle, Season 1,                                          PA2-006-699               1/15/2015
                           LLC
 Episode 1
 Transparent, Season 1,    Amazon Content Services
                                                            PA1-930-949               12/3/2014
 Episode 1                 LLC
 Mozart in the Jungle,     Amazon Content Services
                                                            PA1-963-304               3/23/2015
 Season 1, Episode 1       LLC
 Bosch, Season 1,          Amazon Content Services
                                                            PA2-000-165               2/10/2016
 Episode 1                 LLC
                           Columbia Pictures Industries,
 The Shallows                                               PA1-993-394               7/13/2016
                           Inc.
                           Columbia Pictures Industries,
 Miracles from Heaven                                       PA1-981-803                4/7/2016
                           Inc.
 Spiderman:                Columbia Pictures Industries,
                                                            PA2-044-059                7/7/2017
 Homecoming                Inc.
                           Columbia Pictures Industries,
 Rough Night                                                PA2-041-774               6/30/2017
                           Inc.
 Smurfs: The Lost          Columbia Pictures Industries,
                                                            PA 2-029-508              4/21/2017
 Village                   Inc.
 Pete’s Dragon             Disney Enterprises, Inc.         PA1-998-053               8/26/2016

 The Finest Hours          Disney Enterprises, Inc.         PA1-989-069               5/27/2016


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                                                          Registration
 Title                       Copyright Registrants                       Registration Date
                                                          Number
 Maleficent                  Disney Enterprises, Inc.     PA1-899-203            6/10/2014
 Alice Through the
                             Disney Enterprises, Inc.     PA1-991-651            6/28/2016
 Looking Glass
 Into the Woods              Disney Enterprises, Inc.     PA1-932-175            2/11/2015

 Paranormal Activity:        Paramount Pictures
                                                          PA1-960-100           10/23/2015
 The Ghost Dimension         Corporation
                             Paramount Pictures
 Zoolander 2                                              PA1-974-008            2/16/2016
                             Corporation
 13 Hours: The Secret        Paramount Pictures
                                                          PA1-969-757            1/19/2016
 Soldiers of Benghazi        Corporation
                             Paramount Pictures
 Whiskey Tango Foxtrot                                    PA1-977-149             3/4/2016
                             Corporation
                             Twentieth Century Fox Film
 Independence Day:
                             Corporation; TSG             PA1-994-450            7/22/2016
 Resurgence
                             Entertainment Finance LLC
                             Twentieth Century Fox Film
 Deadpool                    Corporation; TSG             PA1-977-152             3/4/2016
                             Entertainment Finance LLC
 Ice Age, Collision          Twentieth Century Fox Film
                                                          PA1-995-002            7/27/2016
 Course                      Corporation
                             Twentieth Century Fox Film
 Ice Age: The Meltdown                                    PA1-306-625            3/31/2006
                             Corporation
                             Twentieth Century Fox Film
 War for the Planet of the
                             Corporation; TSG             PA2-044-947            7/25/2017
 Apes
                             Entertainment Finance LLC
 The Purge: Election         Universal City Studios
                                                          PA1-995-003            7/11/2016
 Year                        Productions LLLP
                             Universal City Studios
 Despicable Me 3                                          PA2-043-544            6/27/2017
                             Productions LLLP
                             Universal City Studios
 The Boss                                                 PA1-993-610             4/7/2016
                             Productions LLLP
                             Universal City Studios
 Jurassic World              Productions LLLP; Amblin     PA1-946-359            6/10/2015
                             Entertainment LLC
                             Warner Bros. Entertainment
 Wonder Woman                Inc.; Ratpac-Dune            PA2-036-078             6/6/2017
                             Entertainment LLC
                                                                                  Exh A
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                                                       Registration
 Title                    Copyright Registrants                       Registration Date
                                                       Number
                          Warner Bros. Entertainment
 Batman v. Superman:
                          Inc.; Ratpac-Dune            PA1-981-624            3/30/2016
 Dawn of Justice
                          Entertainment LLC
                          Warner Bros. Entertainment
 Dunkirk                  Inc.; Ratpac-Dune            PA2-044-585            7/20/2017
                          Entertainment LLC
 Harry Potter and the     Warner Bros. Entertainment
                                                       PA1-721-904             3/4/2011
 Deathly Hallows Part 1   Inc.
                          Warner Bros. Entertainment
 Suicide Squad            Inc.; Ratpac-Dune            PA1-995-698             8/4/2016
                          Entertainment LLC




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